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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                     10/15/2020
                                                                       :
ANTHONY FRANCHI, individually and on behalf of all :
others similarly situated,                                             :
                                                                       :
                                    Plaintiff,                         :          20-cv-8585 (LJL)
                                                                       :
                  -v-                                                  :     ORDER REGARDING
                                                                       :    NOTICE TO PURPORTED
TURQUOISE HILL RESOURCES LTD., ULF                                     :      PLAINTIFF CLASS
QUELLMANN, BRENDAN LANE, LUKE COLTON, :                                          MEMBERS
RIO TINTO PLC, RIO TINTO LIMITED, RIO TINTO :
INTERNATIONAL HOLDINGS LIMITED, JEAN-                                  :
SÉBASTIEN JACQUES, and ARNAUD SOIRAT,                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        On October 14, 2020, Plaintiff filed a putative class action on behalf of persons other

than Defendants who purchased or otherwise acquired the securities of Turquoise Hill between

July 17, 2018 and July 31, 2019, inclusive. Dkt. No. 1 (“Compl.”) ¶ 1. The Complaint alleges

violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5

promulgated thereunder.

         Section 78u-4(a)(3)(A) of the Private Securities Litigation Reform Act (“PSLRA”), 15

U.S.C. § 78u-4(a)(3)(A), requires that “[n]ot later than 20 days after the date on which the complaint

is filed, the plaintiff or plaintiffs shall cause to be published, in a widely circulated national business-

oriented publication or wire service, a notice advising members of the purported plaintiff class . . . of

the pendency of the action, the claims asserted therein, and the purported class period.” 15 U.S.C.

§ 78u-4(a)(3)(A)(i).
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       It is hereby ORDERED that no later than November 10, 2020, Plaintiff shall advise the

Court in writing of the date and manner in which it published this notice.


       SO ORDERED.

Dated: October 15, 2020                             __________________________________
       New York, New York                                      LEWIS J. LIMAN
                                                           United States District Judge




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